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 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                      Case No.: 16-CR-0199 GEB
10
11
           vs.                                     STIPULATIN AND PROPOSED ORDER
12                                                 CONTINUING THE STATUS
13                                                 CONFERNCE SET FOR OCTOBER 27,
     KIONI M. DOGAN, et al.                        2017 TO JANUARY 12, 2018
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15
16
17
18         IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan,

19   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel,
20
     and the United States of America, by and through its counsel, Jared Dolan, Assistant
21
22   United States Attorney, that the status conference currently set for October 27, 2017

23   should be continued until January 12, 2018, and to exclude time between October 27,
24
     2017 and January 12, 2018, under Local Code T4.
25
26         The parties agree and stipulate, and request that the Court find the following:
27
                 1. Steve Plesser, attorney for Gloria Harris, was only recently appointed to
28
                                           -1-
                    represent Ms. Harris subsequent to the Court granting appointing Mr.
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 1       Plesser and granting a substitution of counsel.         The government has
 2
         provided discovery associated with this case, which is voluminous - i.e.
 3
         approximately 14,000 pages, plus media materials, to defense counsel.
 4
 5    2. Counsel for defendant Harris requires additional time to review Ms. Harris’
 6
         attorney file provided by previous counsel, to review the discovery in this
 7
 8       matter, to consult with client and conduct any necessary investigation and

 9       research related to the charges, and to otherwise prepare for trial. Counsel
10
         for defendants Dogan and Bailey, as well as the government, are
11
12       unopposed.

13
      3. Counsel for defendant believes that failure to grant the above-requested
14
         continuance would deny counsel the reasonable time necessary for effective
15
16       preparation, taking into account the exercise of due diligence.
17
      4. The government and counsel for defendants Dogan and Bailey join in the
18
19       request for the continuance.
20
      5. Based on the above-stated findings, the ends of justice served by continuing
21
22       the case as requested outweigh the interest of the public and the defendant

23       in a trial within the original date prescribed by the Speedy Trial Act.
24
      6. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
25
26       3161, et seq., within which trial must commence, the time period of
27
         October 27, 2017, to January 12, 2018, inclusive, is deemed excludable
28
         pursuant to 18 U.S.C. section
                                  - 2 - 3161(h)(7)(A), B(iv)[Local Code T4] because
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 1               it results from a continuance granted by the Court at counsel’s request on
 2
                 the basis of the Court’s finding that the ends of justice served by taking
 3
                 such action outweigh the interest of the public and the defendant in a
 4
 5               speedy trial.
 6
              7. Nothing in this stipulation and order shall preclude a finding that other
 7
 8               provisions of the Speedy Trial Act dictate that additional time periods are

 9               excludable from the period within which a trial must commence.
10
           IT IS SO STIPULATED.
11
12                      Respectfully submitted,

13                                          STEVEN B. PLESSER
14
15   Dated: October 24, 2017                /s/ Steven B. Plesser
16                                          STEVEN B. PLESSER
                                            Attorney for Gloria Harris
17
     Dated: October 24, 2017                /s/ Steven B. Plesser for:
18
                                            For JARED DOLAN
19                                          Assistant U.S. Attorney
                                            Attorney for the United States
20
21   Dated: October 24, 2017                /s/ Steven B. Plesser
                                            For BRUCKE LOCKE
22
                                            Attorney for Kioni Dogan
23
     Dated: October 24, 2017                /s/ Steven B. Plesser
24
                                            For ROBERT WILSON
25                                          Attorney for Lavonda Bailey
26
27
28
                                          -3-
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 1                             FINDINGS And ORDER
 2
 3         IT IS SO FOUND AND ORDERED.
 4
     Dated: October 24, 2017
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